Case 2:05-Cr-20132-BBD Document 19 Filed 05/23/05 Page 1 of 2 Page|D 19

IN THE UNITED sTA'rEs DISTRICT COURT ___ ___
FoR THE WEsTERN DISTRICT or TENNEssr nev ~Q:-1..11 o,e.

WESTERN DIVISION 1155 int 23 PH 121 56

 

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Plaintiff,
V. Cr. No. 05-20132-02-D
RICHARD ESTEVANES,
Defendant.
ORDER ON ARRAIGNMENT
This cause came to be heard on 0 ' 0 / , 2005. The Assistant United

States Attorney appeared on behalf of the govemment. The defendants appearance Was Waived and
the following counsel, who is retained, appeared for the defendant

NAME: Charles A. Banker IlI

ADDRESS: 118 W. Pecan Blvd.
McAllen, TX 78501

TELEPHONE: (956) 687-9133

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

<§FW., law

United States Magistrate Judge
Charges: conspiracy; possession With intent to distribute marijuana

Assistant U.S. Attorney assigned to case: Craig

The defendant's age is: §§ .

This document entered on the docket sheet in co pliance
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with Ru]e 55 and/or 32(1:) FRCrP on ¢2 V¢; gm

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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case 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
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Charles A. Banker
3 12 Lindberg
McAllen, TX 78501

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

